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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(B)

   Scura, Wigfield, Heyer,
   Stevens & Cammarota, LLP
   David L. Stevens, Esq.
   1599 Hamburg Turnpike
   Wayne, New Jersey 07470
   Tel.: 973-696-8391
   Counsel for Debtor




  In Re:                                                            Case No.:              16-18212
                                                                                    _______________________
   I.K.E. Electrical Corp.,
                                                                    Judge:                    JKS
                                                                                    _______________________
                                         Debtor.
                                                                    Chapter:                  11
                                                                                    _______________________

                     CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                     APPLICATION FOR RETENTION OF PROFESSIONAL

   Valerie Van Leer-Greenberg
I, __________________________________, being of full age, certify as follows:

       1.                                                    Special Counsel for the Debtor.
                I am seeking authorization to be retained as ____________________________________.

       2.                                            Licensed Attorney to practice law in the State
                My professional credentials include: __________________________________________
       of New York. Admitted in the Second Judicial Department in 1977.
       ______________________________________________________________________________
       ______________________________________________________________________________

       3.                                                        Van Leer & Greenberg, Esq's. -
                I am a member of or associated with the firm of: ________________________________
       Offices located at 132 Nassau Street #219, New York, NY 10038.
       ______________________________________________________________________________.

       4.       The proposed arrangement for compensation, including hourly rates, if applicable, is as
               $10,000.000 retainer was required by the Debtor to begin services. A written
       follows_______________________________________________________________________
       retainer agreement was signed by the Debtor which is attached as "Exhibit A".
       ______________________________________________________________________________
       _____________________________________________________________________________.

       ☐ Pursuant to D.N.J. LBR 2014-3, I request a waiver of the requirements of D.N.J. LBR 2016-1.


       5.       To the best of my knowledge, after reasonable and diligent investigation, my connection
       with the debtor(s), creditors, any other party in interest, their respective attorneys and
       accountants, the United States trustee, or any person employed in the office of the United States
       trustee, is as follows:
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             ☐None

            ☐Describe connection:___________________________________________________
             ________________________________________________________________________
             ________________________________________________________________________

     6.      To the best of my knowledge, after reasonable and diligent investigation, the connection
     of my firm, its members, shareholders, partners, associates, officers and/or employees with the
     debtor(s), creditors, any other party in interest, their respective attorneys and accountants, the
     United States trustee, or any person employed in the office of the United States trustee, is as
     follows:
            ☐None

            ☐Describe Connection: __________________________________________________
             ________________________________________________________________________
             ________________________________________________________________________

     7.      To the best of my knowledge, my firm, its members, shareholders, partners, associates,
     officers and/or employees and I (check all that apply):

             ☐do not hold an adverse interest to the estate.

             ☐do not represent an adverse interest to the estate.

             ☐are disinterested under 11 U.S.C. § 101(14).

               ☐do not represent or hold any interest adverse to the debtor or the estate with respect
                to the matter for which I will be retained under 11 U.S.C. § 327(e).

               ☐Other. Explain: ______________________________________________________
                ________________________________________________________________________
                ________________________________________________________________________

     8.         If the professional is an auctioneer,

                The following are my qualifications and experience with the liquidation or sale of
                similar property: ____________________________________________________
                __________________________________________________________________

                __________________________________________________________________

                                                        2
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              b.      The proposed method of calculation of my compensation, including rates and
             formulas, is: ______________________________________________________________

             ________________________________________________________________________

              ________________________________________________________________________

              Pursuant to D.N.J. 2014-2, I ☐ do or ☐ do not request a waiver of the requirements of
              D. N. J. LBR 2016-1.

              c.       The following is an estimate of all costs and expenses, including labor, security,
              advertising, delivery, mailing, and insurance, for which I will seek reimbursement from
              the sale proceeds: ________________________________________________________

              _______________________________________________________________________

              _______________________________________________________________________


              d.       Have you, or a principal of your firm, been convicted of a criminal offense?

                       ☐ No             ☐ Yes (explain below)

              ________________________________________________________________________

              ________________________________________________________________________

              ________________________________________________________________________

              e.       I certify that a surety bond as described in D. N. J. LBR 2014-2(a)(6) is in effect
              and will remain so through the date of turnover of the auction proceeds.

      9.      If the professional is an auctioneer, appraiser or realtor, the location and description of
      the property is as follows: _________________________________________________________

      ______________________________________________________________________________

      ______________________________________________________________________________

      I certify under penalty of perjury that the above information is true.


      June 21, 2018
Date: ___________________________                        /s/ Valerie VanLeer Greenberg
                                                         ________________________________
                                                         Signature of Professional

                                                                                                   rev.8/1/15



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